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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                               CASE NO. 23-60486-CIV-DIMITROULEAS
 NATIONSTAR MORTGAGE,

          Plaintiff,
 v.

 GLORIDA M. GAVIRIA, et al.,

       Defendant.
 _____________________________________/


                                    ORDER REGARDING REMOVAL

          THIS CAUSE is before the Court on Defendant Glorida M. Gaviria’s Notice of Removal

 and accompanying exhibits, filed on March 15, 2023. [DE 1]. The Court is otherwise fully

 advised in the premises.

          The right of removal is strictly construed, as it is considered a federal infringement on a

 state’s power to adjudicate disputes in its own courts. See Shamrock Oil & Gas Corp. v. Sheets,

 313 U.S. 100, 108-09 (1941). The removing party has the burden of demonstrating the propriety

 of removal. Diaz v. Shepard, 85 F.3d 1502, 1505 (11th Cir. 1996). Under 28 U.S.C. section

 1447(c), a case removed from state court should be remanded if it appears that it was removed

 improvidently.

          Defendant Glorida M. Gaviria contends in the Notice of Removal that this Court has

 original jurisdiction over this action on the basis of 28 U.S.C. ' 1332 and therefore it is

 removable pursuant to 28 U.S.C. ' 1441(b). 1 Under §1332(a), federal district courts have


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  There is no basis for removal pursuant to federal question jurisdiction. The test ordinarily applied for determining
 whether a claim arises under federal law is whether a federal question appears on the face of the plaintiff's well-
 pleaded complaint. Louisville & Nashville R.R. v. Mottley, 211 U.S. 149, 152 (1908). “As a general rule, a case
 arises under federal law only if it is federal law that creates the cause of action.” Diaz v. Sheppard, 85 F.3d 1502,
 1505 (11th Cir.1996) (citing Franchise Tax Bd. v. Constr. Laborers Vacation Trust, 463 U.S. 1, 8–10 (1983)). Put
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 original jurisdiction over civil actions between citizens of different states and where the amount

 in controversy “exceeds the sum or value of $75,000, exclusive of interest and costs.” 28 U.S.C.

 §1332(a). However, Defendant appears to be attempting to remove a recently filed Motion for

 Writ of Possession in an approximately eight-year-old mortgage foreclosure action (in which

 Final Judgment of Foreclosure was entered in 2016), as opposed to attempting to remove the

 entire case. See [DE 1]. Defendant cites no authority for a federal court having subject matter

 jurisdiction over the removal of a motion in a state court case to federal court.

          Even if the Court has diversity jurisdiction over this removed action, procedural defects

 in the removal, specifically the forum defendant rule and untimely removal, constitute grounds to

 grant a timely-filed motion to remand this case to state court. First, the forum defendant rule, 28

 U.S.C. § 1441(b)(2), prohibits removal of a case on diversity grounds if a defendant in the case is

 a citizen of the state in which the suit was filed and has been properly joined and served:

          A civil action otherwise removable solely on the basis of the jurisdiction under
          section 1332(a) of this title may not be removed if any of the parties in interest
          properly joined and served as defendants is a citizen of the State in which such
          action is brought.

 28 U.S.C. § 1441(b)(2).

          Because there is no federal question, Plaintiff's claim is barred by the forum
          defendant rule. Under the forum defendant rule, diversity jurisdiction will not
          support removal if any of the properly joined and served defendants are citizens
          of the state in which the suit was originally filed. 28 U.S.C. § 1441(b)(2);
          Plombco Inc. v. TBC Retail Grp., Inc., 2013 WL 5863571, at *1 (S.D. Fla. Oct.
          31, 2013). “Thus, even though a federal court may have original jurisdiction over
          an action, the forum defendant rule forbids removal[.]” Masterson v. Apotex,
          Corp., 2008 WL 2047979, at *1 (S.D. Fla. May 13, 2008).

 U.S. Bank N.A. v. Walker, No. 19-14037-CIV, 2019 WL 3428574, at *2 (S.D. Fla. May 6, 2019),



 simply, federal question jurisdiction in the removal context may arise from the plaintiff’s pleading of one or more
 causes of action arising under federal law; the federal question giving rise to removal must arise from the plaintiff’s
 complaint. The defendant cannot create federal question jurisdiction through an affirmative defense, or through a
 counterclaim, arising out of federal law.
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 report and recommendation adopted, No. 19-14037-CIV, 2019 WL 3426129 (S.D. Fla. May 22,

 2019). Second, Defendant did not remove the case within the statutory time limit because she

 removed it approximately eight (8) years after it was filed. See 28 U.S.C. §§ 1446(b)(1) and

 (c)(1).

           A District Court “must wait for a party’s motion before remanding a case based on a

 procedural defect.” Whole Health Chiropractic & Wellness, Inc. v. Humana Medical Plan, Inc.,

 254 F.3d 1317, 1321 (11th Cir. 2001). The Court notes that this action was removed on March

 15, 2023, so Plaintiff has until April 14, 2023 to file a motion to remand based on the forum

 defendant rule and/or the untimely removal. See 28 U.S.C. § 1447(c) (“A motion to remand the

 case on the basis of any defect other than lack of subject matter jurisdiction must be made within

 30 days after the filing of the notice of removal under section 1446(a).”).

           Accordingly, it is ORDERED AND ADJUDGED as follows:

           1.     Defendant Glorida M. Gaviria shall have up to and including March 29, 2023, to

                  respond to this Order, establishing with clear legal authority that a federal district

                  court has subject matter jurisdiction over the removal of a Motion for Writ of

                  Possession. A failure to respond to this Order or a failure to convince the Court

                  of the provident removal of the Motion for Writ of Possession may result in the

                  Court entering an order of remand to state court.

           2.     If Plaintiff Nationstar Mortgage wishes to file a Motion to Remand based on the

                  forum defendant rule and or the untimely removal, Plaintiff has until April 14,

                  2023 to do so.

           DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida this

 16th day of March, 2023.
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 Copies furnished to:
 Counsel of record
